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Case 2:91-cv-00589-CJC Documeny 598 Filed 05/21/07 Page 1 ofp GalDH:65

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, et CV 91-0589 RJK (Ex)
al., °

ORDER OF THE CHIEF JUDGE

ESTABLISHING AN INTENDED

DECISION DATE PURSUANT TO

LOCAL RULE 83-9.4

Plaintiffs,
Vv,
SHELL OIL COMPANY, et al.,

Defendants.

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I.
PROCEDURAL BACKGROUND

On January 31, 2007, the parties (Plaintiffs United
States and State of California and Defendants Shell Oil Company,
Union Oil Company of California, Atlantic Richfield Company, and
Texaco, Inc.) filed a Joint Request to Chief Judge to Establish
an Intended Decision Date Pursuant to Local Rule §83-9.4. This
Joint Request to the Chief Judge follows the parties’ Joint
request for Decisions on Submitted Motions for Summary Judgment

Pursuant to Local Rule 83-9.2, filed on December 5, 2006.

The parties request that the Chief Judge establish an EW

 

 
 

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Case 2:91-cv-00589-CJC Document 598 Filed 05/21/07 Page 2of4 Page ID #:66

decision date by which the Court shall make its decision on two
motions for summary judgment, which were deemed submitted by the
Court on March 27, 2006.’ .

On January 31, 2007, Defendants also filed a Second
Supplemental Report on the Status of Proceedings on Defendants’
Claims Against the United States of America. The United States
filed a Response thereto on February 3, 2007.

II.
STANDARD

Pursuant to Local Rule 83-9.5, when the Chief Judge
receives a request under Local Rule 83-9.4, he or she must consult
with the judge to whom the matter is assigned and establish a firm
intended date by which the Court’s decision must be made. “Such a
setting of a final intended date shall be in writing, shall be
filed in the case, and shall be served on the parties.” United
States District Court, Central District of California, Local Civil
Rule 83-9.5.

III.
DISCUSSION

As set forth, the parties filed their Joint Request to
Chief Judge on January 31, 2007. At the same time, however,
Defendants filed a Second Supplemental Report on the Status of
Proceedings on Defendants’ Claims Against the United States of

America. In the Second Supplemental Report, Defendants explain

 

+ More specifically, the motions are: Plaintiff State of
California's Motion for Summary Judgment Against 011 Company
Defendants Regarding Costs Incurred Between October 1990 and June
2004; and Plaintiff United States’ Motion for Partial Summary
Judgment as to the Amount of Recoverable Costs.

 

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Case 2:91-cv-00589-CJC Document 598 Filed 05/21/07 Page 30f4 Page ID #:67

that the Court of Federal Claims heard a motion by Defendants for .
summary judgment and a motion by the United States to dismiss, andt!
that the Court of Federal Claims indicated that it would take the
matters under consideration. Defendants claim that if they
prevail on their motion before the Court of Federal Claims, the
United States could be required to indemnify them for any and all
alleged costs that Plaintiffs are seeking to recover from
Defendants through their motions pending before the District
Court. Therefore, they opine that the District Court should
exercise its discretion to abstain from ruling on Plaintiffs’
motions pending the outcome of the proceedings in the Court of
Federal Claims.

The United States subsequently filed a Response to
Defendants’ Second Supplemental Report on the Status of
Defendants’ Claims Against the United States in the United States
Court of Federal Claims. It contends that Defendants’ Court of
Federal Claims case against it has no relevance to the claims
asserted against Defendants in the District Court. It also
contends that given the likelihood of appeals, the proceedings
currently in the Court of Federal claims could likely take years
before they come to a conclusion. The United States therefore
concludes that the District Court should not withhold its ruling
on the motions for summary judgment pending the outcome of the
Court of Federal Claims proceedings.

Pursuant to the duty prescribed by Local Rule 83-9.5,
the Chief Judge consulted with the judge to whom the matter is
assigned. The assigned judge recommends that the Chief Judge

adopt the position of Defendants, namely, that it is premature

 
 

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Case 2:91-cv-00589-CJC Document 598 Filed 05/21/07 Page 4of4 Page ID #:68

for the Court to rule on the pending motions for summary
judgment, and that the Court ought to wait until the Court of
Federal Claims issues its decision. Thus, the Chief Judge sets
an intended decision date accordingly.
IV.
CONCLUSION

For the foregoing reasons, the Court orders that the
decision on Plaintiff State of California’s Motion for Summary
Judgment Against Oil Company Defendants Regarding Costs Incurred
Between October 1990 and June 2004 and Plaintiff United States’
Motion for Partial Summary Judgment as to the Amount of
Recoverable Costs shall be rendered no later than 120 days after
the decision by the Court of Federal Claims on Defendants’ motion
for summary judgment and the United States’ motion to dismiss

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becomes final.

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The Clerk shall serve a copy of this Order on counsel
for all parties.

DATED: May LP, 2007.

ALICEMARIE H. STOTLER
CHIEF U.S. DISTRICT JUDGE

 

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